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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

                                                    §
   IMPLICIT, LLC,
                                                    §
                Plaintiff,                          §
          v.                                        §          Case No. 2:19-cv-00040-JRG-RSP
                                                    §          LEAD CASE
   IMPERVA, INC.,                                   §
                Defendant.                          §
                                                    §
                                                    §
   IMPLICIT, LLC,
                                                    §
                Plaintiff,                          §
          v.                                        §          Case No. 2:19-cv-00037-JRG-RSP
                                                    §          CONSOLIDATED CASE
   JUNIPER NETWORKS, INC.,                          §
                Defendant.                          §
                                                    §

                                                ORDER

         Before the Court is Defendant Juniper Networks, Inc.’s (“Juniper”) Motion to Transfer

  Venue to the Northern District of California (“Original Motion”). Case No. 2:19-cv-00037, Dkt.

  No. 18. This Original Motion sought to transfer the action against Juniper to the Northern District

  of California pursuant to 28 U.S.C. § 1404. Id.

         Juniper has now filed a Supplemental Motion to Transfer Venue (“Supplemental Motion”).

  Case No. 2:19-cv-00040, Dkt. No. 164. In the Supplemental Motion, Juniper contends that it

  discovered an applicable forum selection clause which justifies transferring this case to the District

  of Delaware. Id.

         In light of the Supplemental Motion seeking to transfer the Juniper action to a different

  venue, the Court DENIES-AS-MOOT the Original Motion. The Court will address the

  Supplemental Motion in a subsequent order.
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       SIGNED this 3rd day of January, 2012.
       SIGNED this 11th day of December, 2019.




                                               ____________________________________
                                               ROY S. PAYNE
                                               UNITED STATES MAGISTRATE JUDGE
